Summary - MyCase                                                         Page 1 of 2
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                             obtained directly from the court maintaining a particular record.


 Lillian Newman v. Lowe's Home Centers, LLC
  Case Number                     34D01-2008-CT-001953

  Court                           Howard Superior Court 1

  Type                            CT - Civil Tort

  Filed                           08/26/2020

  Status                          08/26/2020 , Pending (active)


 Parties to the Case
  Defendant Lowe's Home Centers, LLC
      Address                   c/o Corporation Service Company
                                135 North Pennsylvania Street, Suite 1610
                                Indianapolis, IN 46204
      Attorney                  Pamela A Paige
                                #1616349, Retained
                                300 N Meridian ST
                                STE 990
                                Indianapolis, IN 46204
                                317-964-2730(W)

  Plaintiff     Newman, Lillian
      Attorney                  Phillip Dale Olsson
                                #2941653, Retained
                                KEN NUNN LAW OFFICE
                                104 South Franklin Road
                                Bloomington, IN 47404
                                812-332-9451(W)


 Chronological Case Summary
  08/26/2020 Case Opened as a New Filing


  08/27/2020        Complaint/Equivalent Pleading Filed
                Complaint for Damages

                Filed By:               Newman, Lillian
                File Stamp:             08/26/2020

  08/27/2020        Appearance Filed
                Appearance

                For Party:              Newman, Lillian
                File Stamp:             08/26/2020

  08/27/2020        Subpoena/Summons Filed
                Summons to Lowe's

                Filed By:               Newman, Lillian
                File Stamp:             08/26/2020




                                                                                                                        EXHIBIT A
https://public.courts.in.gov/mycase/                                                                                       10/16/2020
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  09/17/2020          Appearance Filed
                Appearance of Pamela A. Paige obo Defendant

                For Party:              Lowe's Home Centers, LLC
                File Stamp:             09/17/2020

  09/17/2020          Motion for Enlargement of Time Filed
                Motion for Enlargement of Time to Move or Plead in Response to Plaintiff's Complaint

                Filed By:               Lowe's Home Centers, LLC
                File Stamp:             09/17/2020

  09/18/2020          Order Granting Motion for Enlargement of Time
                Enlargment of time is granted up to and including October 21, 2020. ss

                Order Signed:           09/18/2020

  09/19/2020 Automated ENotice Issued to Parties
                Order Granting Motion for Enlargement of Time ---- 9/18/2020 : Phillip Dale Olsson;Pamela A Paige


  10/07/2020          Service Returned Served (E-Filing)
                Return of Service for Lowe's

                Filed By:               Newman, Lillian
                File Stamp:             10/06/2020


 Financial Information
 * Financial Balances reflected are current representations of transactions processed by the Clerk’s Office. Please note that any balance
   due does not reflect interest that has accrued – if applicable – since the last payment. For questions/concerns regarding balances
   shown, please contact the Clerk’s Office.

 Newman, Lillian
 Plaintiff

             Balance Due (as of 10/16/2020)
             0.00

             Charge Summary
               Description                                                           Amount            Credit           Payment
               Court Costs and Filing Fees                                           157.00            0.00             157.00

             Transaction Summary
               Date                Description                                       Amount
               08/27/2020          Transaction Assessment                            157.00
               08/27/2020          Electronic Payment                                (157.00)



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                             obtained directly from the court maintaining a particular record.




https://public.courts.in.gov/mycase/                                                                                          10/16/2020
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                    r 18, 2020




                                 September 18, 2020
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